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8                               UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
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11     MICHAEL BLOOM, STEPHEN                             Case No.: 3:17-cv-02324-AJB-MSB
       CHATZKY, TONY DIAZ, VALERIE
12                                                        ORDER DENYING WITHOUT
       GRISCHY, PENNY HELMS,
                                                          PREJUDICE PLAINTIFFS’ EX
13     BENJAMIN HERNANDEZ, DOUG
                                                          PARTE MOTION FOR TEMPORARY
       HIGGINS, SUZONNE KEITH,
14                                                        RESTRAINING ORDER
       GERALD STARK, ANNA STARK,
15     and DAVID WILSON, individually and
                                                          (Doc. No. 135)
       on behalf of themselves and all others
16
       similarly situated,
17                                      Plaintiffs,
18     v.
19     CITY OF SAN DIEGO,
                                       Defendant.
20
21           Presently before the Court is Plaintiffs’ ex parte motion for temporary restraining
22     order (“TRO”). (Doc. No. 135.) The City of San Diego (“the City”) opposes the ex parte
23     motion. For the reasons set forth before, the Court DENIES WITHOUT PREJUDICE
24     Plaintiffs’ ex parte motion for a TRO.
25     I.    BACKGROUND
26           This case challenges the City of San Diego’s ticketing and impoundment of vehicles
27     used by homeless individuals as shelter. At the time of the filing of the First Amended
28     Complaint, the City had been issuing citations under two City ordinances: (1) its ordinance

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1      prohibiting RV parking from 2:00 a.m. to 6:00 a.m., San Diego Muni. Code § 86.0139(a)
2      (“the nighttime RV parking ordinance”); and (2) its ordinance prohibiting vehicle
3      habitation, San Diego Muni. Code § 86.0137(f) (“the Original VHO”). (First Amended
4      Complaint (“FAC”), Doc. No. 14, ¶ 50, 52.) Plaintiffs alleged both ordinances violated the
5      constitutional and statutory rights of San Diego residents with no other shelter options
6      besides their vehicles, including persons with disabilities who are unable to access housing.
7      (Id. ¶ 64, 129.)
8            On April 30, 2018, Plaintiffs filed a motion for preliminary injunction to enjoin
9      enforcement of both ordinances. (Doc. No. 26.) On August 21, 2018, the Court enjoined
10     enforcement of the Original VHO, but denied Plaintiffs’ motion for preliminary injunction
11     as to “the nighttime RV parking ordinance.” (Doc. No. 44.) As a result of the preliminary
12     injunction, the San Diego City Council repealed the Original VHO on February 25, 2019.
13     Then, on May 14, 2019, the San Diego City Council enacted a new vehicle habitation
14     ordinance (“the New VHO”) in response to concerns about the public health and safety
15     effects of the repeal. (Doc. No. 103.) The New VHO prohibits San Diego residents from
16     parking their vehicles for habitation anywhere in the City between the hours of 9:00 p.m.
17     and 6:00 a.m. except at a handful of designated lots, and from parking within 500 feet of
18     any residence or school at any time. See San Diego Muni. Code § 86.0137(f). Plaintiffs
19     allege that similar to its predecessor, the New VHO is unconstitutional and targets Plaintiffs
20     and putative class members who reside in their vehicles due to having no other viable
21     shelter options that meet their needs. (Doc. No. 93-1 at 6.)
22     II.   LEGAL STANDARDS
23           A party seeking a temporary restraining order must establish: (1) they are likely to
24     succeed on the merits; (2) they are likely to suffer irreparable harm absent preliminary
25     relief; (3) the balance of equities tips in their favor; and (4) an injunction is in the public
26     interest. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); see also
27     Stuhlbarg Intern Sales Co., Inc. v. John D. Brush and Co., Inc., 240 F.3d 832, 839 n.7 (9th
28     Cir. 2001). In the Ninth Circuit, courts may also issue temporary restraining orders when

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1      there are “serious questions going to the merits” and a “balance of hardships that tips
2      sharply towards the plaintiff” so long as the remaining two Winter factors are present.
3      Alliance for Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011). When applying
4      either test, courts operate with the understanding that a temporary restraining order, much
5      like a preliminary injunction, is an “extraordinary and drastic remedy.” Munaf v. Geren,
6      553 U.S. 674, 690 (2008). Whether to grant or deny a TRO or preliminary injunction is a
7      matter within the Court’s discretion. See Miss Universe, Inc. v. Flesher, 605 F.2d 1130,
8      1132–33 (9th Cir. 1979).
9      III.   DISCUSSION
10            Against the backdrop of an unprecedented global pandemic and public health crisis,
11     Plaintiffs seek a TRO enjoining the City from enforcing the nighttime RV parking
12     ordinance and the New VHO. (Doc. No. 135-1 at 10.) Plaintiffs requests the Court enjoin
13     the City from “ticketing, towing, or impounding vehicles not posing an immediate threat
14     to public safety.” (Id.) Additionally, Plaintiffs asks the Court to order the City to “(a) reopen
15     public parking lots, bathrooms and RV waste disposal stations to people sheltering in
16     vehicles, (b) take sufficient steps to inform the public that bathrooms and waste disposal
17     stations are open and available for use, and (c) to properly maintain those facilities.” (Id.)
18     The Court addresses each requirement necessary for a TRO to issue below.
19            A.    Likelihood of Success on the Merits
20                  1.     Plaintiffs’ Due Process Claim
21            First, Plaintiffs argue they are likely to succeed on the merits of their due process
22     claim. Plaintiffs contend that under the Fourteenth Amendment to the United States
23     Constitution, the state deprives a person of a substantive due process right if it
24     “‘affirmatively place[s] the plaintiff in a position of danger,’ such as depriving individuals
25     of the ability to shield themselves from the dangers of the outdoors, city streets, and, in this
26     instance, from infection of COVID-19.” (Doc. No. 135-1 at 19–20 (citing Wood v.
27     Ostrander, 879 F.2d 583,589 (9th Cir. 1989).) Liability for substantive due process
28     requires: (1) official state action that affirmatively places an individual in danger; and (2)

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1      deliberate indifference to that danger. See Kennedy v. City of Ridgefield, 439 F.3d 1055,
2      1062 (9th Cir. 2006). Deliberate indifference requires proof of (1) serious risk of harm, (2)
3      defendant’s actual knowledge of that risk, and (3) defendant’s failure to take obvious steps
4      to address that risk. L.W. v. Grubbs, 92 F.3d 894, 900 (9th Cir. 1996).
5                          a)    Affirmative Conduct
6            Plaintiffs first contend that in light of COVID-19, the City’s ticketing, towing, and
7      impounding of vehicles constitute “affirmative conduct” that places Plaintiffs in known or
8      obvious dangers. (Doc. No. 135-1 at 20–24.) However, as recognized by Plaintiffs, on April
9      10, 2020, the San Diego Police Department (“SDPD”) issued a directive instructing its
10     officers not to impound vehicles that are being used for habitation during the COVID-19
11     crisis. (See Doc. No. 138-8, Declaration (“Decl.”) of Lilys McCoy, Exhibit 2 at 2.) The
12     directive specifically emphasized that officers should instead refer the occupants of the
13     vehicle to the City’s “Safe Parking Lot Program,” and provide occupants with a phone
14     number to call for assistance regarding the program. (Id.) Additionally, the evidence
15     provided by Plaintiffs does not indicate that the City is seeking to actively and aggressively
16     enforce the vehicle habitation ordinances during the COVID-19 crisis, particularly not after
17     SDPD’s issuance of the April 10, 2020 directive. As such, Plaintiffs have not demonstrated
18     the level of active enforcement and “affirmative conduct” required for the extraordinary
19     measure of a TRO at this time. See Koller v. Brown, 224 F. Supp. 3d 871, 880 (N.D. Cal.
20     2016) (relying on mere potential of enforcement of statute insufficient for a temporary
21     restraining order and preliminary injunction).
22           Plaintiffs also argue that the City’s closure of parking lots, public restrooms, and RV
23     waste disposal sites constitute additional affirmative action which endangers Plaintiffs and
24     individuals living in their vehicles. (Doc. No. 135-1 at 21.) Plaintiffs seek a mandatory
25     injunction requiring the City to (1) reopen public parking lots, bathrooms and RV waste
26     disposal stations to people sheltering in vehicles, (2) take sufficient steps to inform the
27     public that bathrooms and waste disposal stations are open and available for use, and (3)
28     to properly maintain those facilities.” (Doc. No. 135-1 at 10.) But contrary to Plaintiffs’

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1      assertions, the City has not closed all public restrooms during the pandemic, and the City
2      has not stopped maintaining or cleaning its public restrooms. (See Doc. No. 138-2, Decl.
3      of Andrew Field.) Additionally, the City has made reasonable accommodations to have the
4      Mission Bay Park grey-water disposal accessible to individuals living in RVs. (Id.; Doc.
5      No. 138 at 17.) Finally, with regard to Plaintiffs’ request that the City open its public
6      parking lots, the City “is bound by the edicts of the County Department of Health, which
7      has issued a series of health mandates during the COVID-19 health emergency containing
8      a directive that ‘all parking lots at public beaches shall be closed.’” (Doc. No. 138 at 16.)
9      Any order issued by this Court to force the City to reopen its beach parking lots would be
10     in direct contravention of the San Diego County’s health mandates to prevent the public at
11     large from congregating in recreational areas. Such an order would only work to frustrate
12     the state’s purpose of containing COVID-19 and protecting the health and safety of the
13     public. Accordingly, Plaintiffs have not established affirmative conduct in violation of
14     Plaintiffs’ substantive due process rights at this time.
15                         b)     Deliberate Indifference
16           Nor have Plaintiffs demonstrated the City has acted with deliberate indifference.
17     Plaintiffs claim “[t]he City’s actions of continued enforcement of the OVO and VHO, and
18     of closing public facilities essential for hygiene, show deliberate indifference toward the
19     increased risks faced by Plaintiffs.” (Doc. No. 135-1 at 24.) Deliberate indifference “is a
20     stringent standard of fault, requiring proof that a municipal actor disregarded a known or
21     obvious consequence of his actions.” Bryan County v. Brown, 520 U.S. 397, 410 (1997).
22           In the face of the unprecedented health crisis, the City has offered reasonable
23     accommodation to protect the well-being of individuals living in vehicles. For example,
24     “the City funds three centrally located safe parking lots with supportive services such as
25     food assistance, employment development, emergency support, benefits access, and asset
26     building.” (Doc. No. 138 at 6.) The City also opened Golden Hall and the Convention
27     Center to allow for physical distancing according to CDC guidelines. (Doc. No. 138 at 7.)
28     The City additionally empowered its safe lot service provider to move its Mission Valley

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1      Safe Lot to the SDCCU Stadium parking lot to increase capacity and social-distancing.
2      (See Doc. No. 138-3, Decl. of Sarah Jarman.) Individuals who avail themselves of the safe
3      lots are provided three meals each day, bathrooms, showers, handwashing stations, free
4      face coverings, bags of canned food and non-perishable items, hand-sanitizer, bottled water
5      for each family member, bottled water for pets, daily check-ins to screen for COVID-19
6      symptoms, support in connecting with healthcare providers, and isolation areas for anyone
7      experiencing Covid-19 symptoms. (Doc. No. 138-7 at 2–3); see also Cobine v. City of
8      Eureka, 250 F. Supp. 3d 423, 433 (N.D. Cal. 2017) (“The specific allegations here of state
9      action regarding finding temporary shelter alternatives or moving a substantial portion of
10     the population to a parking lot from public land does not rise to the level required by the
11     stringent standard of deliberate indifference.”).
12           Based on the foregoing, Plaintiffs have not established likely success on their due
13     process claim.
14                  2.     Plaintiffs’ ADA and Section 504 of the Rehabilitation Act Claims
15           Next, Plaintiffs argue they are likely to succeed on their ADA and Section 504 of
16     the Rehabilitation Act claims. To establish a violation of Title II of the ADA, plaintiffs
17     must show: (i) they are “qualified individuals with a disability”; (ii) they were either
18     excluded from participation in or denied the benefits of a public entity’s services, programs
19     or activities, or was otherwise discriminated against by the public entity; and (iii) such
20     exclusion, denial of benefits, or discrimination was by reason of their disability. Weinreich
21     v. Los Angeles County Metro. Trans. Auth., 114 F.3d 976, 978 (9th Cir. 1997). A violation
22     of Section 504 of the Rehabilitation Act, 29 U.S.C. Section 794, requires the same
23     showings, plus a showing that the program providing the benefits or services receives
24     federal financial assistance. Id. A facially neutral program can violate the ADA and Section
25     504 if it disparately impacts or places a disproportionate burden on the disabled. See
26     McGary v. City of Portland, 386 F.3d 1259, 1265 (9th Cir. 2004) (explaining that the Ninth
27     Circuit has “repeatedly recognized that facially neutral policies may violate the ADA when
28     such policies unduly burden disabled persons, even when such policies are consistently

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1      enforced.”).
2            Plaintiffs’ primary argument is that the City’s policies regarding parking
3      enforcement programs and public parks during this pandemic disproportionately burden
4      individuals with disabilities, especially those who are at higher risk of complications and
5      death from COVID-19. (Doc. No. 135-1 at 26.) While not entirely clear, the City appears
6      to counter that safe lots provide a reasonable alternative to Plaintiffs and Plaintiffs have
7      not established that the lots cannot accommodate them. (Doc. No. 138 at 14.) The Court
8      notes that there are some questions regarding whether the City’s policies violate the ADA
9      and Section 504. On the one hand, Plaintiffs explain the City’s programs disproportionately
10     burdens those with disabilities because of their inability to access the safe parking lots or
11     other congregate shelters. (Doc. No. 135-1 at 27.) Specifically, Plaintiffs state they are
12     particularly vulnerable, and cannot utilize congregate shelters or safe parking lots for fear
13     of contact with other individuals. (Id.); Communities Actively Living Indep. & Free v. City
14     of Los Angeles, No. CV 09-0287 CBM RZX, 2011 WL 4595993, at *15 (C.D. Cal. Feb.
15     10, 2011) (“Because of the City’s failure to address their unique needs, individuals with
16     disabilities are disproportionately vulnerable to harm in the event of an emergency or
17     disaster.”). The City counters that Plaintiffs do not explain how the City has failed to
18     address their needs, and instead only “focus on why the safe lots could be hazardous,
19     without providing proof that they are hazardous.” (Doc. No. 138 at 14.) But in any event,
20     if the Court were to grant Plaintiffs’ request, particularly to reopen the public parking lots,
21     it is also unclear whether the Order would subject Plaintiffs to a similar risk and burden.
22     Thus, against the backdrop of the public health crisis, the Court concludes there are some
23     questions going to the merits of Plaintiffs’ ADA and Section 504 claims.
24                    3.   Plaintiffs’ Other Constitutional Claims
25           Lastly, while Plaintiffs primarily focus on their substantive due process and ADA
26     claims, Plaintiffs briefly argue they are likely to succeed on their claim that the New VHO
27     is unconstitutionally vague. Vagueness may invalidate a law for either of two independent
28     reasons. City of Chicago v. Morales, 527 U.S. 41, 56 (1999) (citation omitted). First, it may

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1      fail to provide the kind of notice that will enable ordinary people to understand what
2      conduct it prohibits; and second, it may authorize and even encourage arbitrary and
3      discriminatory enforcement. Id.
4            Here, the New VHO proscribes that, “[i]t is unlawful for any person to use a vehicle
5      for human habitation on any street or public property . . . (1) between the hours of 9:00
6      p.m. and 6:00 a.m.; (2) at any time, within 500 feet of a residence . . . ; and (3) at any time,
7      within 500 feet of a school. . . .” San Diego Muni. Code § 86.0137(f)(1)–(3). The New
8      VHO further states that evidence of human habitation may “include observations,
9      considering all the circumstances,” that a person is using a vehicle for:
10           [S]leeping; bathing; preparing or cooking meals; possessing or storing items
             that are not associated with ordinary vehicle use, such as a sleeping bag,
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             bedroll, blanket, sheet, pillow, used bedding, kitchen utensils, cookware,
12           cooking equipment, camping gear, food, water, personal grooming items, or
             containers of feces or urine. Evidence of human habitation also may include
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             observations, considering all the circumstances, that: a person has obscured
14           some or all of the vehicle’s windows; there is litter, rubbish, or waste in or
             around the vehicle; there is furniture set up in or around the vehicle, such as
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             chairs, tables, umbrellas, or portable cooking equipment; or there is evidence
16           of human urination or defecation around the vehicle.
17     San Diego Muni. Code § 86.0137(f)(4).
18           Unlike the Original VHO which the Court enjoined the City from enforcing, the New
19     VHO specifically provides for specific time, place, and manner restrictions. Additionally,
20     the examples of “evidence of human habitation” provides some notice of prohibited
21     conduct. Questions naturally arise, however, as to whether enforcement could potentially
22     be arbitrary or discriminatory. Desertrain v. City of Los Angeles, 754 F.3d 1147, 1156 (9th
23     Cir. 2014) (“If a statute provides ‘no standards governing the exercise of . . . discretion,’ it
24     becomes ‘a convenient tool for harsh and discriminatory enforcement by local prosecuting
25     officials, against particular groups deemed to merit their displeasure.’”). However, in light
26     of the COVID-19 pandemic, SDPD’s directive to not impound vehicles used for habitation,
27     and SDPD’s progressive service-based enforcement model, this question may be more
28     appropriately addressed another day.
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1            B.     Irreparable Harm
2            Finding that there are questions going to the merits of some of Plaintiffs’ claims, the
3      Court next addresses whether irreparable injury will arise in the absence of a TRO. A
4      plaintiff seeking a TRO must establish a likelihood of irreparable harm in the absence of
5      preliminary relief. See Herb Reed Enterprises, LLC v. Florida Entm’t Mgmt., Inc., 736
6      F.3d 1239, 1242 (9th Cir. 2013). “Those seeking injunctive relief must proffer evidence
7      sufficient to establish a likelihood of irreparable harm.” Id. at 21. A court may not rely on
8      “unsupported and conclusory statements regarding harm [a plaintiff] might suffer.” Id. at
9      19 (internal quotation marks omitted; emphasis in the original). In assessing Plaintiffs’
10     motion, the Court is mindful that the presentation of irreparable harm must be “clear.”
11     Garcia v. Google, 786 F.3d 733, 746 (9th Cir. 2015). “Speculative injury does not
12     constitute irreparable injury sufficient to warrant granting a [TRO].” Caribbean Marine
13     Servs. Co. v. Baldrige, 844 F.2d 668, 674 (9th Cir. 1988). “Issuing a [TRO] based only on
14     a possibility of irreparable harm is inconsistent with [the] characterization of injunctive
15     relief as an extraordinary remedy that may only be awarded upon a clear showing that the
16     plaintiff is entitled to such relief.” Winter, 555 U.S. at 22 (citation omitted).
17           In this case, Plaintiffs state “the irreparable harm from the City’s continued
18     enforcement of the VHO and OVO is serious illness or death from the increased risk of
19     infection of COVID-19—for all San Diegans.” (Doc. No. 135-1 at 17.) The COVID-19
20     pandemic unquestionably presents serious and unprecedented circumstances, and risk of
21     harm to all. However, in the face of SDPD’s directive to not impound vehicles used for
22     habitation, the City’s progressive services-based enforcement model, coupled with the
23     alternative safe parking lots and shelter provided by the City, the Court cannot conclude
24     that Plaintiffs have shown a clear showing of irreparable harm absent the requested relief.
25     See City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983).
26           C.     Balance of Hardships and Public Interest
27           The balance of equities and public interest factors merge “[w]hen the government is
28     a party.” Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citation

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1    omitted). “[A]ny time a State is enjoined by a court from effectuating statutes enacted by
2    representatives of its people, it suffers a form of irreparable injury.’” Coalition for Econ.
3    Equity v. Wilson, 122 F.3d 718, 719 (9th Cir. 1997) (quoting New Motor Vehicle Bd. v.
4    Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977)). The Court is sympathetic to the difficult
5    situation and hardships Plaintiffs may face during this pandemic. However, the City
6    appears to be taking necessary measures to protect the public, including Plaintiffs, during
7    this public health crisis. The policies and programs related to vehicle habitation and
8    sheltering currently implemented by the City additionally further the goals of safety and
9    public health, which is particularly crucial during these times. Additionally, Plaintiffs’
10   requested relief, particularly reopening public parking lots may actually work against the
11   public’s interest in effectively combating COVID-19 by encouraging recreational
12   congregation.
13                                               ***
14         In summation, while there are questions going to the merits of some of Plaintiffs’
15   claims, Plaintiffs have not carried their burden in demonstrating that the remaining
16   elements for a TRO exist. In particular, the City’s reasonable alternative programs during
17   this pandemic, in addition to the lack of evidence of active enforcement demonstrates that
18   a TRO inappropriate at this time.
19   IV.   CONCLUSION
20         In light of the City’s response to this COVID-19 public health crisis, the Court
21   concludes Plaintiffs have not made “a clear showing” that it is entitled to the “extraordinary
22   remedy” of a TRO at this stage of the proceedings. Winter, 555 U.S. at 22. Based on the
23   foregoing, the Court DENIES WITHOUT PREJUDICE Plaintiff’s ex parte motion for
24   a temporary restraining order. Nothing in this order precludes Plaintiffs from renewing
25   their motion, or from filing a motion for preliminary injunction at the appropriate time.
26         IT IS SO ORDERED.
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